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March 28, 2024


VIA ECF

Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

Re: United States v. Menendez et al., No. S4 23 Cr. 490 (SHS)

Dear Judge Stein:

We write to advise the Court that Senator Menendez has elected not to exercise his right to file
an interlocutory appeal of this Court’s Order denying his Motion to Dismiss on Speech and
Debate Clause and separation of powers grounds (ECF No. 252). The Senator’s decision is
principally motivated by his desire to proceed to trial and establish his innocence without further
delay. This decision is not intended to, and should not be deemed to, waive any substantive right
or argument the Senator has to object to the admission of evidence at trial in violation of his
Speech and Debate rights. The Senator reserves all rights to seek appellate review of any and all
appealable orders, including the Order referenced above, should it be necessary after the
conclusion of trial.

                                                     Respectfully,

                                                     /s/ Adam Fee_____
                                                     Adam Fee
                                                     Avi Weitzman

                                                     Attorneys for Defendant Robert Menendez
